Case 5:23-cv-11074-JEL-EAS ECF No. 17-12, PageID.967 Filed 07/22/23 Page 1 of 2




                                     Meeting Minutes
           Libertarian Party of Michigan Libertarian Executive Committee Meeting
                                          Zoom
                                     6 January 2023

   •   Call to order @ 20:31
   •   Roll Call:
           o Andrew Chadderdon, Chair
           o Vacant, 1st Vice Chair
           o Vacant, 2nd Vice Chair
           o Daniel Ziemba, Secretary
           o Vacant, Treasurer
           o Ryan Roberts, District 1
           o Vacant, District 2
           o Jordan Martin, District 3
           o Rick Thelen, District 4
           o Dave Canny, District 5
           o Vacant, District 6
           o Brian Ellison, District 7 (absent)
           o Vacant, District 8
           o Mike Saliba, District 9
           o Joe Brungardt, District 10
           o Bruce Jaquays, District 11
           o Daniel Muehl-Miller, District 12
           o Vacant, District 13
           o Vacant, District 14
           o Connor Nepomuceno, Comm. Director (absent)
           o Jeff Pittel, Membership Committee Chair
           o Scotty Boman, Newsletter Committee Chair (absent)
           o Stephanie Dunn, Legislative Committee Chair (absent)
           o Jami Van Alstine, Campaign Support Committee Chair
           o Mark King, IT Director (absent)
           o Larry Johnson (Membership Committee) (absent)
           o Leah Dailey (Membership Committee)
           o Gregg Smith (guest)
           o Tim Yow (guest)
           o Jay Gillotte (guest)
           o Jonathan (JJ) Jacobs (guest)
           o Greg Stempfle
           o Josh Jongema
           o Mary Buzuma
           o Jon Elgas
           o Kevin Ellis
           o Donna Gundle-Krieg
           o David Bockelman
           o Larry Henneman



                                       EXHIBIT 51
Case 5:23-cv-11074-JEL-EAS ECF No. 17-12, PageID.968 Filed 07/22/23 Page 2 of 2




          o Loel Gnadt
          o Trevor Step
          o Daniel Grusczynski
          o Kyle McCauley
          o Claranna Gelineau
   •   Paperwork check
   •   Approval of agenda
   •   Open floor
   •   Special Orders
          o Special Convention Planning
          o Bruce moves to authorize the chair to arrange and sign contracts for the needed
              accommodations for the special convention as required by the petitions
              submitted on January 3, 2023.
          o in early 2023
                  § 2nded
                  § Joe B moves to amend the motion to set meeting location in Lansing, MI
                         • 2nded
                         • Amendment fails by voice vote
                  § Motion approved without objection by voice vote
   •   Mike S motions to adjourn @ 21:47
          o 2nded
          o Approved by voice vote
